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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )         4:09CR3134
                                            )
                    Plaintiff,              )
                                            )
      vs.                                   )
                                            )         ORDER
KORINA KIT KUCERA,                          )
                                            )
                    Defendant.              )


      On the oral motion of the defendant, and without objection by the government,

       IT IS ORDERED that Defendant Kucera’s sentencing is continued to Friday, January
7, 2011, at 1:00 p.m., before the undersigned United States district judge, in Courtroom
No. 1, United States Courthouse and Federal Building, 100 Centennial Mall North, Lincoln,
Nebraska. The defendant shall be present unless excused by the court.

      Dated December 2, 2010.

                                         BY THE COURT:

                                         Richard G. Kopf
                                         United States District Judge
